

Martinez v 214 W. 39th St. LLC (2021 NY Slip Op 03412)





Martinez v 214 W. 39th St. LLC


2021 NY Slip Op 03412


Decided on June 01, 2021


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: June 01, 2021

Before: Kern, J.P., Moulton, González, Scarpulla, JJ. 


Index No. 24874/15E Appeal No. 13981 Case No. 2020-03900 

[*1]Luis Martinez, Plaintiff-Appellant,
v214 West 39th Street LLC, Defendant-Respondent.


Hach &amp; Rose, LLP, New York (Michael A. Rose of counsel), for appellant.
Varvaro, Cotter &amp; Bender, White Plains (Rose M. Cotter of counsel), for respondent.



Order, Supreme Court, Bronx County (Lucindo Suarez, J.), entered on or about May 19, 2020, which granted defendant's motion for summary judgment dismissing the complaint, unanimously affirmed, without costs.
The court properly granted defendant's motion for summary judgment on the ground that plaintiff was defendant's special employee. Defendant submitted undisputed evidence, including plaintiff's own testimony, that defendant's superintendent supervised and directed plaintiff's work, conclusively demonstrating that defendant assumed exclusive control over the manner, means, and result of plaintiff's work. Accordingly, his complaint against defendant is precluded by Workers'
Compensation Law §§ 11 and 29(6) (see Thompson v Grumman Aerospace Corp., 78 NY2d 553, 557-558 [1991]; Bharat v Bronx Lebanon Hosp. Ctr., 106 AD3d 540, 540 [1st Dept 2013]).THIS CONSTITUTES THE DECISION AND ORDER
OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: June 1, 2021








